                              Case 2:19-cv-02136-DDC-JPO Document 2 Filed 03/12/19 Page 1 of 2
                                                                                                                                                                                 FILED
 JS 44 (Rev. 02/19)                                                         CIVIL COVER SHEET                                                                                         MAR 12 2019
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided b):' local. rules of_c<;mrt. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of\11F,ib'ffi<r%~1!ffi.fe.N\BLERK
 purpose of 1mtmtmg the CIVll docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)                                                                            .

 I. (a) PLAINTIFFS                                                                                           APJhfe1h11Ps~~l~ents,       LLC; Scott C. Stacey, PSyD; Peter Graham,
  KC Fabrick                                                                                                 PhD; John R. Whipple, MD;Michael Seely, PsyD; Thomas Janousek,
                                                                                                             PsyD; Carly Stevenson; Forensic Truth Analysis, LLC; Kipp Low
      (b)    County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant Douglas County
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

      ( C) Attorrn<ys (F/rm Name, Address, and Telephone Number)                                               Attorneys (If Known)
 Pro Se: KC t-abrick
 1 Clinton Path, Unit 1, Brookline, MA 02445
 617-935-6490 Cell, 617-274-7870

II. BASIS OF JURISDICTION (Placean "X"inOneBoxOnlyJ                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                         "X" in One Box for Plaintiff
                                                                                                          (For Dil'ersity Cases Only)                                            and One Box for Defendant)
0 1 U.S. Government                     0 3    Federal Question                                                                     PTF        DEF                                               PTF       DEF
       Plaintiff                                 (US. Government Not a Party)                        Citizen ofTitls State          0 I        ~ I          Incorporated or Principal Place       0 4      ~4
                                                                                                                                                              of Business In This State

02         U.S. Government              ~4 Diversity                                                 Citizen of Another State          ~2      0     2      Incorporated and Principal Place      0   5    0 5
              Defendant                          (Indicate Citizenship ofParties in Item III)                                                                  of Business In Another State

                                                                                                     Citizen or Subject of a           0 3     0     3      Foreign Nation                        0 6      0 6
                                                                                                       Forei nCoun
IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                erICkh ere tior: N ature o fS Ult Cd
                                                                                                                                                                                   o e D escnnt10ns.
I,,           CO~   uACf                                            TORTS                              FORFEITURE/PENALTY                          BANKRUPTCY                         OTHER STATUTES              I
0     110 Insurance                         PERSONAL INJURY              PERSONAL INJURY             0 625 Drug Related Seizure          0 422 Appeal 28 USC 158                 0 375 False Claims Act
0     120Marine                        0 310 Airplane                  0 365 Personal Injury -             ofProperty21USC881            0 423 Withdrawal                        0 376QuiTam(31 USC
0     130 Miller Act                   0 315 Airplane Product                Product Liability       0 690 Other                               28 USC 157                              3729(a))
0     140 Negotiable Instrument                  Liability             0 367 Health Care/                                                                                        0 400 State Reapportionment
0     150 Recovery of Overpayment      0 320 Assault, Libel &                Pharmaceutical                                                pu• •u•·uTY RI~HTS                    0 410 Antitrust
          & Enforcement of Judgment              Slander                     Personal Injury                                             0 820 Copyrights                        0 430 Banks and Banking
0     151 Medicare Act                 0 330 Federal Employers'              Product Liability                                           0 830 Patent                            0 450 Commerce
0     152 Recovery of Defaulted                  Liability             0 368 Asbestos Personal                                           0 835 Patent - Abbreviated              0 460 Deportation
          Student Loans                0 340 Marine                          Injury Product                                                         New Drug Application         0 470 Racketeer Influenced and
          (Excludes Veterans)          0 34 5 Marine Product                 Liability                                                   0 840 Trademark                               Corrupt Organizations
0     153 Recovery of Overpayment                Liability              PERSONAL PROPERTY                          .AM. . U                ""'. . .  14      "uJTY
                                                                                                                                                         Jto; ...
                                                                                                                                                                                 0 480 Consumer Credit
          of Veteran's Benefits        0 350 Motor Vehicle             0 370 Other Fraud             0 710 Fair Labor Standards          0 861 HIA (1395fl)                      0 485 Telephone Consumer
0     160 Stockholders' Suits          0 355 Motor Vehicle             0 371 Truth in Lending               Act                          0 862 Black Lung (923)                        Protection Act
0     190 Other Contract                        Product Liability      0 380 Other Personal          0 720 Labor/Management              0 863 DIWC/DIWW (405(g))                0 490 Cable/Sat TV
0     195 Contract Product Liability   0 360 Other Personal                  Property Damage                Relations                    0 864 SSID Title XVI                    0 850 Securities/Commodities/
0     196 Franchise                             Injury                 0 385 Property Damage         0 740 Railway Labor Act             0 865 RSI (405(g))                            Exchange
                                       i!f. 362 Personal Injury -            Product Liability       0 751 Family and Medical                                                    0 890 Other Statutory Actions
                                                Medical Malpractice                                         Leave Act                                                            0 891 Agricultural Acts
I'    REAL PROPERTY                           CIVIL RIGHTS              PRISONER PETITIONS           0 790 Other Labor Litigation          FEDERAL TAX SUITS                     0 893 Environmental Matters
0 210 Land Condemnation                0 440 Other Civil Rights          Habeas Corpus:              0 791 Employee Retirement           0 870 Taxes (U.S. Plaintiff             0 895 Freedom oflnformation
0 220 Foreclosure                      0 441 Voting                    0 463 Alien Detainee                Income Security Act                 or Defendant)                           Act
0 230 Rent Lease & Ejectrnent          0 442 Employment                0 510 Motions to Vacate                                           0 871 IRS-Third Party                   0 896 Arbitration
0 240 Torts to Land                    0 443 Housing/                        Sentence                                                          26 USC 7609                       0 899 Administrative Procedure
0 245 Tort Product Liability                    Accommodations         0 530 General                                                                                                   Act/Review or Appeal of
0 290 All Other Real Property          0 445 Amer. w/Disabilities -    0 535 Death Penalty                 IMMIGRATION                                                                 Agency Decision
                                                Employment               Other:                      0 462 Naturalization Application                                            0 950 Constitutionality of
                                       0 446 Amer. w/Disabilities -    0 540 Mandamus & Other        0 465 Other Immigration                                                           State Statutes
                                                Other                  0 550 Civil Rights                  Actions
                                       0 448 Education                 0 555 Prison Condition
                                                                       0 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an "X"inOneBoxOnly)
i:!'I: 1   Original          0 2 Removed from              0    3     Remanded from             0 4 Reinstated or       0      5 Transferred from          0        6 Multidistrict       0 8 Multidistrict
           Proceeding            State Court                          Appellate Court               Reopened                     Another District                     Litigation -            Litigation -
                                                                                                                                 (specifY)                            Transfer                Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not citejuristlictional statutes unless diversity):
                       Kansas
VI. CAUSE OF ACTION 1-B;.,.r.;.;ie""f                 Civil Procedure 60-513
                                     d.;.;e;.;..sc;...r..;;ip.;..ti;..;.on'-'--of...;c...;a..;;.us.;..e.;..:;..;....;...;.....;..;..;..__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                            Medical Negligence; Many Unprofessional Conducts, failing to conduct evaluations consistent with standards
VII. REQUESTED IN     0                         CHECK IF THIS IS A CLASS ACTION                        DEMAND$                                       CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                  8,950,000.00                               JURY DEMAND:                     M Yes       ONo

VIII. RELATED CASE(S)
                                              (See instructions):
      IF ANY                                                                                                                                 DOCKET NUMBER
DATE


FOR OFFICE USE ONLY

      RECE_IPT #                 AMOUNT                                      APPLYING IFP                                      JUDGE                                   MAG.JUDGE
                   ~~~~~                      ~~~~~~~~
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JS 44 Reverse (Rev. 02/19)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county ofresidence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, wherejurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity ofcitizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. Ifthere are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (I) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct Fi:le. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
        NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
        statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
